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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 15-0865-AG (SHKx)                                        Date       October 1, 2018
 Title             HSINGCHING HSU, ET AL V PUMA BIOTECHNOLOGY, INC ET AL



 Present: The                    ANDREW J. GUILFORD, U.S. District Judge
 Honorable
                       Gabriela Garcia                                         Miriam Baird
                         Deputy Clerk                                         Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                        Tor Gronborg                                          Colleen Smith
                      Debashish Baskshi                                     Michele Johnson
                         Jason Forge                                        Sarah Tomkowiak
                                                                             Andrew Clubok
                                                                              Meryn Grant

 Proceedings:           1. PLAINTIFF’S MOTION TO EXCLUDE THE TESTIMONY OF
                        DEFENDANTS’ EXPERT DR GREGORY K FRYKMAN [DKT 398]
                        2. PLAINTIFF’S MOTION TO EXCLUDE CERTAIN OPINIONS OF
                        DEFENDANTS’ EXPERT DR JOHN KORNAK [DKT 401]
                        3. PLAINTIFF’S MOTION TO EXCLUDE THE TESTIMONY OF
                        DEFENDANTS’ EXPERT DR JACKIE WALLING [DKT 404]
                        4. DEFENDANT’S MOTION TO EXCLUDE EXPERT TESTIMONY OF
                        PHILIP LAVIN [DKT 407]
                        5. DEFENDANTS’ MOTION TO EXCLUDE CERTAIN EXPERT
                        TESTIMONY OF STEVEN FEINSTEIN [DKT 409]


Cause is called for hearing and counsel make their appearances. Matters are argued and taken
under submission.




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                                                               Initials of Preparer   gga




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